                Case 23-12908-ABA                     Doc 12
                                    Filed 04/14/23 Entered 04/14/23 15:37:51                                     Desc Main
                                   Document      Page 1 of 1
        UNITED STATES BANKRUPTCY COURT
        DISTRICT OF NEW JERSEY
        Caption in Compliance with D.N.J. LBR 9004-1(b)
        Denise Carlon Esquire
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        Trustee for the benefit of the Freddie Mac Seasoned Loans
        Structured Transaction Trust, Series 2019-1




                                                                                Case No: 23-12908 ABA

                                                                                Chapter: 13

                                                                                Judge: Andrew B. Altenburg Jr.
        In Re:
        Kristen D. Domenico
        Vincent J Domenico

                                                     Debtor(s).

                                                                    NOTICE OF APPEARANCE

                         Please take notice that in accordance with Fed R. Bankr. P. 9010(b) the undersigned enters an
                 appearance in this case on behalf of Federal Home Loan Mortgage Corporation, as Trustee for the benefit
                 of the Freddie Mac Seasoned Loans Structured Transaction Trust, Series 2019-1. Request is made that
                 the documents filed in this case and identified below be served on the undersigned at this address:

                 ADDRESS:

                 701 Market Street, Suite 5000
                 Philadelphia, PA 19106

                 DOCUMENTS:

                  All notices entered pursuant to Fed. R. Bankr. P. 2002.
                 All documents and pleadings of any nature.

                 Date: 04/13/2023
                       ${d:1:y:____________}                                    /s/${s:1:y:______________________________}
                                                                                  Denise Carlon
                                                                                  13 Apr 2023, 17:49:18, EDT
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